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                         UNITED STATES DISTRICT COURT FOR THE
                             SOUTHERN DISTRICT OF FLORIDA
                                 FORT PIERCE DIVISION

                              Case No. 19-14472-CIV-MARTINEZ


     DAN BONGINO                                 )
                                                 )
            Plaintiff,                           )
                                                 )
     v.                                          )
                                                 )
                                                 )
     THE DAILY BEAST                             )
          COMPANY, LLC                           )
                                                 )
            Defendant.                           )
                                                 )


          OBJECTIONS TO REPORT AND RECOMMENDATION
              OF UNITED STATES MAGISTRATE JUDGE
            Plaintiff, Dan Bongino, by counsel, pursuant to 28 U.S.C. § 636(b)(1)(C) and

     Rule 4(a)(1) of the Court’s Magistrate Judge Rules, respectfully serves and files these

     Objections to the Report and Recommendation (“R&R”) of the United States Magistrate

     Judge [ECF No. 26], and appeals the Magistrate Judge’s recommendation to grant

     defendant’s motion for attorney’s fees pursuant to Florida’s anti-SLAPP statute.

            Plaintiff objects to the R&R for the following reasons:

            1.      The R&R, p. 2, concludes that the Article “does not state or even insinuate

     that Plaintiff was terminated for cause, but instead explains his departure was related to

     corporate downsizing”. Although the R&R correctly summarizes the District Court’s

     ruling on Defendant’s motion to dismiss, the District Court erred in finding that the

     Article is not capable of a defamatory meaning. Compare Hallett v. Stuart Dean Co.,


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     2021 WL 405831, at * 15-16 (S.D.N.Y. 2021) (“polite, circumspect letter” that stated

     plaintiff “will step down from his position effective immediately” could not be construed

     to contain “an insinuation that the dismissal was for some misconduct”); Meredith v.

     Nestle Purina Petcare Company, 2021 WL 357366, at * 9 (E.D. Va. 2021) (“a reasonable

     listener could plausibly believe that Defendant fired Plaintiff[] because she sabotaged

     Defendant's products.”); Santagata v. MiniLuxe, Inc., 2020 WL 2322851, at * 6 (D. R.I.

     2020) (“Here, where customers were told that Plaintiff was no longer working at the

     salon – but not that she was fired – there was no underlying implication of

     a defamatory fact, as the customers could have believed she voluntarily left.”). Since the

     Article in this case is capable of a defamatory meaning, defendant’s anti-SLAPP motion

     for attorney’s fees should have been denied.

            2.      The R&R incorrectly finds that the Court has judicial power under Article

     III, § 2 of the United States Constitution to consider Defendant’s motion. Article III, § 2

     extends the judicial power of the Unite States and its District Courts to “Cases” and

     “Controversies”.   On August 6, 2020, the District Court entered an Order granting

     Defendant’s motion to dismiss with leave to amend and “prospectively” granting

     Defendant’s motion to recover costs and fees under Florida’s anti-SLAPP statute.

     Because the Court permitted Plaintiff an opportunity to amend, the Court held off on a

     final ruling on the matter. [ECF No. 23]. On August 10, 2020, Plaintiff timely filed

     notice of voluntary dismissal pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil

     Procedure. On August 11, 2020, the Court entered a Final Order of Dismissal, in which

     the Court denied all pending motions as moot, and closed the case. [ECF No. 25].

     Defendant failed to appeal or otherwise seek reconsideration of the Court’s Final Order



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     of Dismissal. Because the District Court denied Defendants’ motion as moot, the R&R

     should have concluded that the Court lacked authority under Article III, § 2 to consider

     an award of fees because there was no Case or Controversy before the Court.

            3.      Plaintiff had an “absolute” right to voluntarily dismiss the case pursuant to

     Rule 41(a)(1)(A)(i), which he exercised prior to the Court’s final ruling on Defendant’s

     motion to recover fees under Florida’s anti-SLAPP law. Carter v. United States, 547 F.2d

     258, 259 (5th Cir. 1977) (“a plaintiff has an absolute right to dismiss a lawsuit before the

     defendant has filed an answer or summary judgment motion.”). The District Court was

     divested of subject matter jurisdiction upon Plaintiff’s filing of the notice of voluntary

     dismissal. See Am. Cyanamid Co. v. McGhee, 317 F.2d 295, 297 (5th Cir. 1963) (“That

     document itself closes the file. There is nothing the defendant can do to fan the ashes of

     that action into life and the court has no role to play … There is not even a perfunctory

     order of court closing the file. Its alpha and omega was the doing of the plaintiff alone.”).

     The R&R incorrectly determined that the Court had subject matter jurisdiction to

     consider Defendant’s motion.

            4.      The R&R incorrectly applied Florida law in this diversity action. In

     Florida, the “most significant relationship” test determines the applicable law by

     considering the contacts listed in the Restatement (Second) of Conflict of Laws. See, e.g.,

     Grupo Televisa, S.A. v. Telemundo Commc’ns Grp., Inc., 485 F.3d 1233, 1240 (11th Cir.

     2007). Those contacts “include”: (a) where the injury occurred, (b) where the conduct

     causing the injury occurred, (c) the “domicil, residence, nationality, place of

     incorporation and place of business of the parties”, and (d) where the parties’

     “relationship, if any, … is centered.” Restatement (Second) of Conflict of Laws § 145(2).



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     In this case, New York law applies. The reporting and editing was done from New York.

     The article is about events that took place in New York—i.e., Plaintiff’s employment and

     termination by NRATV. Daily Beast is headquartered in New York. Correspondent

     Lachlan Markay lives in New York and reported the story from New York. Florida’s

     anti-SLAPP law does not apply. See Frey v. Minter, 829 Fed.Appx. 432, 435-436 (11th

     Cir. 2020) (“the conduct causing the injury occurred in Georgia because the statements

     were made in Georgia by a Georgia resident and, again, the local newspaper’s principal

     circulation is in Georgia. As to the third factor—the residence of the parties—Mr. Frey is

     a Florida resident, but Mr. Minter resides in Georgia and Mr. Blach resides in Alabama.

     This factor is a tie at best. In any event, the residency factor carries less weight here

     because the issues and circumstances of this case are centered in Georgia.”); see also

     Kesner v. Dow Jones & Company, Inc., 2021 WL 256949, at * 9-10 (S.D.N.Y. 2021)

     (“the defendants have strong ties to New York and limited ones to Florida. Buhl is

     domiciled in New York, and Barron’s maintains its principal place of business is New

     York. Alpert is domiciled in New Jersey but works for Barron’s in New York. Where

     authors accused of defamation are located in New York and the publishing entity is

     headquartered in New York, New York has a strong interest in the case … Accordingly,

     although Kesner is today domiciled in Florida, all other factors favor New York, which,

     the Court finds, has by far the most significant relationship to this case.”).

            5.      The R&R incorrectly found that attorney’s fees may be awarded in a

     diversity action upon dismissal of Plaintiff’s claim pursuant to Rule 12(b)(6) of the

     Federal Rules of Civil Procedure.         Defendant moved to dismiss Plaintiff’s initial

     complaint pursuant to Federal Rule of Civil Procedure 12(b)(6). [ECF No. 16]. Florida’s



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     anti-SLAPP statute, Fla. Stat. § 768.295(4), does not purport to make attorney’s fees

     available to parties who obtain dismissal pursuant to the Federal Rules of Civil

     Procedure. Therefore, attorney’s fees under the Florida anti-SLAPP Act are not available

     to the Defendant in this diversity case. See Nunes v. Lizza, 2020 WL 4507326, at * 10

     (N.D. Iowa 2020) (citing Abbas v. Foreign Policy Group, LLC, 783 F.3d 1328, 1337 fn. 5

     (D.C. Cir. 2015)).

            6.      Finally, § 768.295(4) states that the Court “shall award the prevailing

     party reasonable attorney fees and costs incurred in connection with a claim that an action

     was filed in violation of this section.” (Emphasis added). Thus, a final adjudication of the

     merits of the Defendant’s anti-SLAPP motion is an essential predicate to ruling on the

     Defendant’s request for an award of fees. Otherwise, Plaintiff’s voluntary dismissal of

     the action could have the effect of entitling the Defendant to fees in an action which was

     dismissed by the Plaintiff for entirely legitimate reasons. In this case, for instance,

     Defendants argued that Plaintiff failed to comply with the procedural requirements of Fla

     Stat, § 770.01. Voluntary dismissal in order to achieve compliance with § 770.01 is an

     entirely legitimate purpose that has nothing to do with the probability of success on the

     merits of Plaintiff’s defamation claim or the merits of Defendant’s anti-SLAPP Motion.

     Here, the Plaintiff exercised his absolute right to dismiss this action prior to amendment

     and prior to a final ruling on the merits of the case, including Defendant’s anti-SLAPP

     defense. The ultimate success of Defendant’s anti-SLAPP motion was dependent on the

     Court ruling that an amended complaint failed to state a claim of defamation under

     Federal Rule 12(b)(6).      That eventuality was rendered impossible when Plaintiff

     dismissed his claims. See NSS Labs, Inc. v. Symantec Corporation, 2020 WL 1929338, at



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     * 2 (N.D. Cal. 2020) (motion to strike was expressly dependent on a continency that

     never came to pass). Under these circumstances, the Defendant is not the “prevailing

     party” and, therefore, the R&R erred when it recommended granting Defendants’ motion

     for anti-SLAPP attorneys’ fees.

                                         CONCLUSION

            For the reasons stated above, Plaintiff respectfully requests the District Court to

     review the matter de novo, and reject the R&R in whole.



                                  DAN BONGINO



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                                  CERTIFICATE OF SERVICE

            I hereby certify that on February 23, 2021 a copy of the foregoing was filed

     electronically using the Court’s CM/ECF system, which will send notice of electronic

     filing to the Parties and all interested parties receiving notices via CM/ECF.




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